  NOT FOR PUBLICATION IN WEST'S HAWAIʻI REPORTS AND PACIFIC REPORTER




                                             Electronically Filed
                                             Intermediate Court of Appeals
                                             CAAP-XX-XXXXXXX
                                             22-AUG-2024
                                             08:08 AM
                                             Dkt. 161 OAWST



                         NO. CAAP-XX-XXXXXXX


                 IN THE INTERMEDIATE COURT OF APPEALS
                        OF THE STATE OF HAWAIʻI


           U.S. BANK NATIONAL ASSOCIATION, AS TRUSTEE FOR
         J.P. MORGAN MORTGAGE ACQUISITION TRUST 2006-WMC2,
    ASSET BACKED PASS-THROUGH CERTIFICATES, SERIES 2006-WMC2,
            Plaintiff/Counterclaim Defendant-Appellee, v.
           DONNA MAE AMINA, also known as DONNA M. AMINA;
       MELVIN KEAKAKU AMINA, also known as MELVIN K. AMINA,
 Defendants/Third-Party Plaintiffs/Counterclaimants-Appellants,
   and ASSOCIATION OF APARTMENT OWNERS OF 2304 METCALF STREET,
                       Defendant-Appellee, and
     NATIONWIDE TITLE CLEARING, INC. and ALDRIDGE PITE, LLP,
                Third-Party Defendants-Appellees, and
             DOES 1-20, inclusive, Defendants-Appellees.


          APPEAL FROM THE CIRCUIT COURT OF THE FIRST CIRCUIT
                       (CIVIL NO. 1CC181000540)


       ORDER APPROVING STIPULATION FOR DISMISSAL OF APPEAL
   (By:  Wadsworth, Presiding Judge, McCullen and Guidry, JJ.)

            Upon consideration of Plaintiff/Counterclaim-

Defendant-Appellee U.S. Bank National Association, as Trustee

for J.P. Morgan Mortgage Acquisition Trust 2006-WMC2, Asset

Backed Pass-Through Certificates, Series 2006-WMC2 (U.S. Bank),

Third-Party Defendant-Appellee Aldridge Pite, LLP (Aldridge
  NOT FOR PUBLICATION IN WEST'S HAWAIʻI REPORTS AND PACIFIC REPORTER


Pite), Third-Party Defendant-Appellee Nationwide Title Clearing,

Inc. (Nationwide Title), and self-represented Defendants/Third-

Party Plaintiffs/Counterclaimants-Appellants Donna Mae Amina and

Melvin Keakaku Amina's (collectively Aminas) July 31, 2024

"Stipulation for Dismissal With Prejudice of Appeal"

(Stipulation to Dismiss), the papers in support, and the record

and files, it appears that:

          (1)   On July 31, 2024, U.S. Bank, Aldridge Pite,

                Nationwide Title, and the Aminas filed the

                Stipulation to Dismiss pursuant to Hawai‘i Rules

                of Appellate Procedure (HRAP) Rule 42(b);

                    a.    The Stipulation to Dismiss states that

                          "all appearing parties" (U.S. Bank,

                          Aldridge Pite, Nationwide Title, and the

                          Aminas) stipulate that "the appeal filed

                          in this matter is hereby dismissed with

                          prejudice";

                    b.    "Each party is to bear their own

                          attorneys' fees and costs"; and

                    c.    The Stipulation to Dismiss is dated and

                          signed by the Aminas and counsel for all

                          parties appearing in the appeal;

          (2)   This appeal was docketed on July 12, 2023.



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          (3)   No payment is due.

          The Stipulation to Dismiss complies with HRAP

Rule 42(b) (providing in part that if "parties to a docketed

appeal or other proceeding sign and file a stipulation for

dismissal, specifying the terms as to payment of costs and" pay

the fees that are due, "the case shall be dismissed upon

approval by the appellate court").

          Therefore, IT IS ORDERED that the Stipulation to

Dismiss is approved and the appeal is dismissed with prejudice.

The parties shall bear their own attorneys' fees and costs on

appeal.

          DATED:   Honolulu, Hawai‘i, August 22, 2024.

                                      /s/ Clyde J. Wadsworth
                                      Presiding Judge

                                      /s/ Sonja M.P. McCullen
                                      Associate Judge

                                      /s/ Kimberly T. Guidry
                                      Associate Judge




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